Case 19-71778      Doc 64   Filed 03/17/20 Entered 03/17/20 11:38:54   Desc Main
                              Document     Page 1 of 2




IT IS SO ORDERED.

SIGNED THIS: March 17, 2020




                            _______________________________
                                      Mary P. Gorman
                              United States Bankruptcy Judge
___________________________________________________________



                       UNITED STATES BANKRUPTCY COURT

                         CENTRAL DISTRICT OF ILLINOIS


In re        GALE RAY CUSTER and JOYCE                  Case No.       19-71778
             ANNETTE CUSTER,
                                                        Chapter        7
                              Debtors.

                                     ORDER


    A hearing having been scheduled on the following matter:


        1)   Motion for a Determination of Reasonable Value of
             Services of Debtors’ Attorney and for Sanctions (#54)
             filed by the United States Trustee



        IT IS ORDERED THAT:
Matter        Action

   1.         On the Court’s own motion, due to the limited operations of the
              Bankruptcy Court during the COVID-19 pandemic, the hearing on
              the United States Trustee’s Motion for a Determination of
Case 19-71778   Doc 64   Filed 03/17/20 Entered 03/17/20 11:38:54   Desc Main
                           Document     Page 2 of 2



          Reasonable Value of Services of Debtors’ Attorney and for
          Sanctions (#54), previously set for March 24, 2020, is hereby
          canceled.

          The matter is reset for May 19, 2020, in court, at 10:00 a.m.,
          United States Courthouse, Room 232, 600 E. Monroe Street,
          Springfield, Illinois 62701. If court operations are still limited at
          that time, the Court will reset the matter to a telephonic conference
          at the same date and time. If operations are not limited and in-
          person hearings are being conducted, the personal appearance of
          attorneys will be expected.




            Go to www.ilcb.uscourts.gov for information regarding
                this court’s mandatory electronic filing policy.

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